             Case 1:24-cv-00523-RP Document 51 Filed 09/06/24 Page 1 of 13

                                                                                             FILED
                                                                                       September 06, 2024
                            IN THE UNITED STATES DISTRICT COURT                       CLERK, U.S. DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS                        WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION                                                pg
                                                                                   BY: ________________________________
                                                                                                           DEPUTY
                                                     §
    STUDENTS FOR JUSTICE IN                          §
    PALESTINE AT THE UNIVERSITY OF                   §
    HOUSTON, et al.,                                 §
                                                     §
           Plaintiffs,                               §
                                                     §
    v.                                               §                No. 1:24-CV-523-RP
                                                     §
    GREG ABBOTT, in his official capacity only as    §
    the Governor of the State of Texas, et al.,      §
                                                     §
           Defendants.                               §


                         DEFENDANTS’ SURREPLY TO PLAINTIFFS’
                         MOTION FOR A PRELIMINARY INJUNCTION


           Plaintiffs say many things in their reply, but they neglect to support most of their assertions

with evidence or legal authority. Plaintiffs have instead chosen to substitute their subjective say-so for

a record that might add color to their claims, but those allegations do not get truer when repeated.

The Court may accordingly disregard much of Plaintiffs’ reply. 1 At the same time, Plaintiffs improperly

unload a large volume of new “evidence” and raise new issues not briefed in their motion and not

directly responsive to any argument in Defendants’ brief. By filing a threadbare motion and then

waiting until their reply to address most of the key issues implicated by their request for injunctive

relief, Plaintiffs waived these new points. 2


1
  See Revocable Living Trust of Judith A. Dunn v. Quicken Loans, Inc., No. 1:18-cv-371-RP, 2019 WL
1131423, at *2 (W.D. Tex. Mar. 12, 2019) (Pitman, J.) (explaining that because the plaintiff had failed
to provide legal authority in support of their argument, and because they ignored a key document,
they failed to carry their burden of supporting their request for dispositive relief) (citing W.D. Tex.
Loc. R. CV-7(d)(1) (“Legal authorities supporting any motion must be cited in the motion.”)).
2
  See Parson v. Sager, No. 1:18-cv-1014-RP, 2019 WL 5243190, at *2 n.1 (W.D. Tex. Apr. 30, 2019)
(Pitman, J.) (citing Jones v. Cain, 600 F.3d 527, 541 (5th Cir. 2010) (“Arguments raised for the first time
in a reply brief are generally waived.”). The Court should strike Plaintiffs’ new points from the record.


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           Case 1:24-cv-00523-RP Document 51 Filed 09/06/24 Page 2 of 13



    I.       Plaintiffs’ Reply Introduces Unsigned and Undated “Affidavits.”

         Plaintiffs introduce a new affidavit by Jenna Homsi as supposed support for several arguments

in their reply, but Ms. Homsi’s affidavit is unsigned and undated. 3 The Court should ignore it.

         Ms. Homsi’s unsigned affidavit also raises two other issues. First, it does nothing to show that

Ms. Homsi was a student at the time of the April protests, and so PSC-UT has failed to identify any

single member who could bring a claim in their own right to support PSC-UT’s associational standing. 4

Second, Ms. Homsi’s unsigned affidavit claims that PSC-UT is not genuinely connected to NSJP, 5 but

this is not a serious point. Last December 8, Mr. Qaddumi—then a member of the steering committee

for PSC-UT but now its figurehead—reportedly “said that organization is UT Austin’s arm of the

national Students for Justice in Palestine group and it has organized multiple pro-Palestine

demonstrations on and off campus in Austin.” 6 Mr. Qaddumi reaffirmed the connection to NSJP in

an article published on September 3, 2024. 7 PSC-UT also reposted NSJP’s Popular University for

Gaza post on April 20, 2024, declaring unequivocally: “WE ARE ALL SJP!” 8

         Next, Plaintiffs also introduce a new statement by Kira Sutter that is not properly signed,

undated, and instead reflects an electronic mark that neither Defendants nor the Court can be sure

was made by Ms. Sutter. While federal law permits litigants to rely on declarations in lieu of affidavits,

28 U.S.C. § 1746 requires that a declarant subscribe to the writing themselves under penalty of perjury



3
  ECF 38-3, p. 4.
4
  Summers v. Earth Island Inst., 555 U.S. 488, 499 (2009).
5
  ECF 38-3, ¶ 19.
6
  Ryan Quinn, 2 TAs Provided Students Mental Health Resources on Gaza. They’re not TAs Anymore, INSIDE
HIGHER ED (Dec. 20, 2023), https://tinyurl.com/4sbw4bs7.
7
  Lily Kepner, Criminal trespassing charges dropped against 79 arrested in UT pro-Palestinian protest, AUSTIN
AMERICAN-STATESMAN (Jun. 26, 2024, 5:37 PM), https://tinyurl.com/bpdkn9z4 (“However, while
the committee, which is both a chapter of Students for Justice in Palestine and a community
organization, will focus its efforts off-campus, Qaddumi believes other organizations will come
forward to advocate for Palestine at UT.”). A PDF version of this article is provided as a courtesy to
the Court as Exhibit C.
8
  ECF 43-1, p. 13


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              Case 1:24-cv-00523-RP Document 51 Filed 09/06/24 Page 3 of 13



before it may have the same force and effect as an affidavit. Plaintiffs also label the exhibit as an

affidavit, not a declaration, 9 but it does not reflect that Ms. Sutter swore to the instrument “before an

officer authorized to administer oaths, such as a notary public.” 10 The Court should disregard it.

     II.       Plaintiffs Attempt to Introduce Expert Testimony without a Proper Foundation.

            Plaintiffs introduce a new declaration 11 by Elliott Colla purporting to offer expert opinion

testimony, but Plaintiffs do not lay an adequate foundation for that opinion under Fed. R. Evid. 702.

The declaration does not disclose the factual bases for Professor Colla’s opinions, does not identify

any generally accepted methods he relied on in reaching his opinions (though he does list several

questions he thinks are important to ask), does not appreciably apply any generally accepted methods,

does not reflect a reliable application of those methods, and does not even disclose how his proposed

opinion would help the Court to understand the evidence or determine any material fact in issue. The

Court may disregard Professor Colla’s proffered “expert” opinion.

     III.      Plaintiffs Attempt to Manufacture a Sham Dispute about UTSA’s Campus Rules.

            Plaintiffs contend that because DSA believes the “rule” (as Plaintiffs improperly call it)

prohibiting students from chanting “from the river to the sea, Palestine will be free” on campus

remains in effect, 12 the Court must accept that subjective belief as true. Plaintiffs attach a significant

volume of new material as supposed support for their argument, 13 but the Court can see for itself that

Plaintiffs’ new material does nothing to contradict LaTonya (“L.T.”) Robinson’s declaration. 14 L.T.

Robinson, as Dean of Students at UTSA, can speak to the fact that UTSA’s request was a temporary


9
  ECF 38-2, p. 2.
10
   Black’s Law Dictionary 62 (8th ed. 2004).
11
   See generally ECF 38-4.
12
   ECF 38, p. 23.
13
   ECF 38-5.
14
   Should the Court consider Plaintiffs’ new evidence, it supports Dean Robinson’s declaration that
the request was made as a temporary measure during a fraught time while awaiting additional
information, that no final decisions had been made regarding the Governor’s order, and that law
enforcement would not enforce the request. See ECF 38-5 at 22-24, 30, 33-36, 44.


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             Case 1:24-cv-00523-RP Document 51 Filed 09/06/24 Page 4 of 13



measure to encourage and maintain civil discourse on campus during a fraught time while awaiting

additional guidance, UTSA has no demonstrated willingness to repeat this request to students going

forward, UTSA never enforced the request, and that the “rule” was not incorporated into UTSA’s

June 7 revision to its Peaceful Public Assembly Policy. 15 DSA cannot manufacture a factual dispute

by burying its head in the sand and ignoring the reality on the ground: UTSA has no such rule, has no

intention of enforcing such a rule to the extent it did, and Plaintiffs cannot create jurisdiction on their

official- or individual-capacity claims through ipse dixit to the contrary. 16

     IV.      Plaintiffs Introduce a Report by a Faculty Committee at UT Austin that Does Not
              Speak for the Faculty and Missed Numerous Key Details.
           Plaintiffs introduce a UT Austin Committee of Counsel on Academic Freedom and

Responsibility (CCAFR) report that they claim reflects the opinion of UT Austin on PSC-UT’s campus

disruptions. 17 As Plaintiffs may already know, UT Austin President Hartzell responded to CCAFR’s

report on August 9 to highlight several important issues that CCAFR neglected to review and consider

before circulating its report: the national experience surrounding protests last spring, the role of

university rules and policies, and the process that UT Austin is using for student discipline. 18 And to

“set the record straight” on the matters raised in CCAFR’s report, UT Austin’s Vice President for

Legal Affairs (VPLA) also responded on August 20 to provide a fuller account of the matters at hand. 19

As those responses show, CCAFR’s report (1) speaks beyond the committee’s limited purview, and

(2) UT Austin does not agree with the conclusions that CCAFR reached.

           CCAFR “provides advice on, and investigates allegations of violations of, policies and

procedures concerning tenure, promotion, annual, post-tenure, and mid-probationary faculty


15
   UTSA HOP, § 9.37(III.A); see also ECF 31-5, ¶¶ 8–16.
16
   Infra p. 9.
17
   ECF 38, p. 5.
18
   See generally UT Austin President Jay Hartzell’s August 9, 2024 Response to CCAFR Report, attached
as Exhibit A.
19
   See generally UT VPLA August 20, 2024 Response to CCAFR Report, attached as Exhibit B.


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            Case 1:24-cv-00523-RP Document 51 Filed 09/06/24 Page 5 of 13



evaluations as well as the exercise of academic freedom in teaching, scholarship and expression.” 20 As

the VPLA’s letter explains, “[t]he incidents in question involve free speech and expression generally

and are not academic freedom issues,” so “borrowing the stature and credibility of the committee for

a report that is decidedly not about” those areas within its purview was “undisciplined at best.” 21

          Additionally, Faculty Council leadership reached a different conclusion than CCAFR’s—

namely, that Dean of Students staff followed the existing policy and rules. 22 CCAFR is one of many

committees within Faculty Council. They do not speak for the entire council nor do they comprise

the body’s leadership. As the VPLA explained in its letter to CCAFR: while faculty members, including

those on CCAFR, are entitled to express their opinions, they do not bind UT Austin or dictate its

position as an institution. As a result, the Court should set aside CCAFR’s opinion testimony. 23

     V.      Plaintiffs’ Reliance on the Travis County Attorney’s Decision to Dismiss Criminal
             Trespass Charges is Misplaced.
          Plaintiffs (and CCAFR) lean on the fact that Travis County Attorney Delia Garza dismissed

criminal trespass charges against the UT Austin campus agitators to insinuate that those arrests were

baseless. 24 In saying so, they make the basic mistake of confusing a prosecutor’s discretion not to

pursue criminal charges 25 with the independent issue of a prosecutor’s judgment that a given criminal

charge is fatally flawed due to an underlying Fourth Amendment deficiency. 26 Here, the County

Attorney made clear she was dismissing the 79 criminal trespass cases based on her prosecutorial



20
          A1 Committee of Counsel on Academic Freedom and Responsibility, available at
https://facultycouncil.utexas.edu/a1-committee-counsel-academic-freedom-and-responsibility.
21
   Ex. B, p. 1.
22
   Id., p. 6; Ex. A, p. 1
23
   See Fed. R. Evid. 701 & 702.
24
   ECF 38, pp. 1, 5; ECF 38-1, pp. 10, 15.
25
   See, e.g., Richardson v. Blevins, No. A-21-cv-794-RP, 2021 WL 9494503, at *2 (W.D. Tex. Sep. 18, 2021)
(Pitman, J.) (“[W]hether to prosecute criminal statutes and bring charges are decisions left to the
discretion of a prosecutor.”) (citing United States v. Batchelder, 442 U.S. 114, 124 (1979)).
26
   See, e.g., United States v. Williams, No. 1:22-cr-253-RP-2, 2024 WL 1543219, at *4 (W.D. Tex. Apr. 9,
2024) (Pitman, J.) (explaining probable cause requirement for a warrantless arrest).


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             Case 1:24-cv-00523-RP Document 51 Filed 09/06/24 Page 6 of 13



discretion: she publicly stated that she believed she could not prove them beyond a reasonable doubt. 27

It does not follow from that discretionary decision that the arrests were baseless. Any number of

considerations can inform a prosecutor’s determination about how to exercise the office’s discretion.

And it is clear from the sampling of evidence that Defendants have provided the Court that a basis

exists for the arrests on which another county attorney could easily and reasonably decide to proceed

with the cases. 28

     VI.       Plaintiffs Cite to a Document Stricken from the Record to Attack a Witness.

           Plaintiffs inaccurately say that Assistant Chief Shane Streepy “falsely” claimed he found stacks

of copies of Hamas propaganda in PSC-UT’s encampment. 29 Plaintiffs offer no support of their own

for this attack, and instead cite to a document stricken from the record. Defendants already clarified

that they had inadvertently filed the wrong attachment as Exhibit BB to Dkt. 32-11, 30 the Court

granted that motion, struck and sealed the original Exhibit BB, and replaced it with a corrected Exhibit

BB. The Court should ignore Plaintiffs’ attempt to discredit uncontroverted testimony on this

inappropriate basis.

     VII.      Plaintiffs Falsely Claim that UT Austin Did Not Observe any Institutional Rules
               Violations when PSC-UT Protested Israel Block Party.
           Plaintiffs newly contend that the “UT administration specifically found that UT-PSD [sic] did

not violate rules at its counter protest to the ‘Israel block party.’” 31 That is not true. PSC-UT was

initially violating UT Austin’s Institutional Rules, but because their members were willing to work with

staff to change the form of their protest to comply with the Institutional Rules, the Dean of Students




27
   Ex. C.
28
   See Fed. R. Evid. 702.
29
   ECF 38, pp. 16–17.
30
   ECF 36.
31
   ECF 38, p. 17.


                                                      6
          Case 1:24-cv-00523-RP Document 51 Filed 09/06/24 Page 7 of 13



elected not to charge those students with any violations. 32 To this end, the Dean of Students sent a

letter to Ms. Homsi outlining a constructive path forward while admonishing PSC-UT: “[t]his message

should serve as a notice of the potential risk of failing to comply with directives of university officials,

and disrupting authorized activities.” 33 That interaction only illustrates university officials’ willingness

to cooperate with PSC-UT, so long as the student organization is likewise willing to cooperate with

staff to come into compliance with the University’s time, place, and manner rules.

     VIII. Plaintiffs’ Reply Introduces Seven Erroneous New Legal Contentions.

        First, Plaintiffs do not challenge the University Defendants’ policies through any claim in their

Amended Complaint, but they now say (for the first time) in their reply that they are pursuing a pre-

enforcement challenge to those policies—arguing that “[t]he challenged policies are unconstitutional

viewpoint discrimination.” 34 This contradiction highlights the tortured connection Plaintiffs are

attempting to draw between GA-44 and the actions that were (and arguably could be expected to) be

taken against them on the basis of the University Defendants’ time, place, and manner rules. Moreover,

while Plaintiffs argue that Defendants have waived their arguments against the pre-enforcement

challenge, 35 that cannot be so because the pre-enforcement analysis is a jurisdictional inquiry that goes

to the “injury in fact” prong of the standing inquiry, 36 and arguments challenging the Court’s subject-




32
   See ECF 43-1, ¶¶ 13–15 (explaining that PSC members initially marched at the event in what
appeared to be an effort to disrupt it intentionally, but after Dean of Students staff informed them
that this was unacceptable conduct and helped them find a way to hold their protest in a way that
respected the rights of others, PSC’s members complied with those instructions).
33
   See id., p. 44.
34
   ECF 38, p. 11.
35
   Id.
36
   See Speech First, Inc. v. Fenves, 979 F.3d 319, 329-30 (5th Cir. 2020) (evaluating standing in pre-
enforcement context).


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          Case 1:24-cv-00523-RP Document 51 Filed 09/06/24 Page 8 of 13



matter jurisdiction cannot be waived. 37 Regardless, this point does not matter because Plaintiffs cannot

seek relief based on a claim that is not in their operative pleading. 38

        Second , Plaintiffs argue for the first time and without support that it is irrelevant “[w]hether

the Court treats these claims as facial or as-applied”; in either event, Plaintiffs say, “the full scope of

relief Plaintiffs[] propose remains available.” 39 This new argument—and Plaintiffs apparent

contention that they need not offer support in favor of either path to demonstrate a likelihood of

success on the merits—is contradicted by caselaw that carefully evaluates the standards for succeeding

on an as-applied versus a facial challenge—a distinction and a clarity which is all the more needed

when a pre-enforcement challenge is involved. Plaintiffs say (at page 34) they are not challenging that

the University Defendants applied content-neutral time, place, and manner restrictions to end

Plaintiffs’ disruptive protests, that those policies are lawful under the First Amendment to the United

States Constitution, or even that Defendants were within their rights to apply them because Plaintiffs’

protests would be disruptive. 40 Instead, Plaintiffs appear to suggest that the University Defendants

would apply different policies to stop Plaintiffs’ protests again in the future and that the future

application of those yet-unidentified policies would be unlawful. 41

        While it is true that, since the protests in the spring, the University Defendants have revised

their discrimination policies to reflect GA-44, those revisions did nothing to touch the time, place,

and manner rules that were actually enforced in the spring—and would be enforced again if Plaintiffs

again attempt to establish encampments or cause major disruption to campus functioning. An as-

applied pre-enforcement challenge is something of an anomaly, given the general rule that “a party


37
   See United States v. Lopez-Urgel, 351 F.Supp.3d 978, 989 n.7 (W.D. Tex. 2018) (Pitman, J.) (“Subject-
matter jurisdiction properly comprehended . . . refers to a tribunal’s power to hear a case, a matter that
can never be forfeited or waived.”) (citations and internal quotation marks omitted).
38
   See generally ECF 38, p. 34.
39
   ECF 36 at n. 23.
40
   See generally ECF 38.
41
   Id., pp. 34–36.


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          Case 1:24-cv-00523-RP Document 51 Filed 09/06/24 Page 9 of 13



cannot challenge a statute as-applied unless the statute has been applied to him.” 42 Typically, such a

pre-enforcement claim would proceed as a facial challenge—a standard which Plaintiffs have done

nothing to meet in either their motion or reply—even when Plaintiffs are arguing that the rule would

be applied to “a class to which the plaintiff belongs.” 43 There is no reason to think Plaintiffs are likely

to succeed on the rare as-applied pre-enforcement claim here, where they have given no reason to

believe any campus rules other than the unchallenged time, place, and manner rules would be applied

to them. Plaintiffs’ contrived as-applied claim, as they now express it, is speculative and premature

and should be rejected. 44

        And because Plaintiffs also did nothing to show their likelihood of succeeding on a facial

challenge under Moody v. NetChoice, LLC., they have abandoned their facial challenge as a basis for

supporting their request for injunctive relief 45

        Third , Plaintiffs say on page 35 of their reply that Defendants omit a forum analysis. 46

Plaintiffs did not themselves engage in a forum analysis 47 in their motion, 48 abandoning the issue. Nor

does this lawsuit implicate a forum analysis because Tinker controls:

        [C]onduct by the student, in class or out of it, which for any reason—whether it stems
        from time, place, or type of behavior—materially disrupts classwork or involves
        substantial disorder or invasion of the rights of others is, of course, not immunized by
        the constitutional guarantee of freedom of speech. 49




42
   Ctr. for Individual Freedom v. Carmouche, 449 F.3d 655, 659 (5th Cir. 2006); see also Justice v. Hosemann,
771 F.3d 285, 292–95 (5th Cir. 2014); Lawline v. Am. Bar Ass'n, 956 F.2d 1378, 1386 (7th Cir. 1992).
43
   Speech First, 979 F.3d at 334-35.
44
   See Shields v. Norton, 289 F.3d 832, 835 (5th Cir. 2002).
45
   144 S.Ct. 2383 (2024).
46
   ECF 38, p. 31.
47
   See, e.g., Chiu v. Plano Indep. Sch. Dist., 260 F.3d 330, 344–47 (5th Cir. 2001) (outlining the distinct
forum categories and the varying level of scrutiny applied to each).
48
   See generally ECF 21.
49
   Tinker v. Des Moines Indep. Comm. Sch. Dist., 393 U.S. 503, 512–13 (1969) (citation omitted).


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          Case 1:24-cv-00523-RP Document 51 Filed 09/06/24 Page 10 of 13



Plaintiffs suggest that Tinker does not apply to viewpoint discrimination or in the university setting, 50

but Plaintiffs offer no controlling authority showing otherwise. By contrast, Defendants provided

ample support in their response showing that Tinker applies to viewpoint discrimination 51 and in the

university setting. 52 The Court may thus ignore Plaintiffs’ unsupported argument.

        Fourth , the reply brief includes new mootness arguments regarding the relief sought against

UTSA President Taylor Eighmy. 53 In those arguments, Plaintiffs confuse the standing and sovereign

immunity analyses, and so they fail to address both. Specifically, Plaintiffs spend all their time

suggesting that the Court should disregard sworn statements by UTSA officials and so they do nothing

to respond to the lack of demonstrated willingness to enforce the prior “rule.” 54 This difference is

salient as DSA must show that UTSA officials have a demonstrated willingness to enforce this “rule”

to overcome UTSA President Eighmy’s sovereign immunity on an official-capacity claim. 55 The Fifth

Circuit found a more circumscribed statement than L.T. Robinson’s indicating an official had no

willingness to enforce a rule defeated jurisdiction on an official-capacity claim. 56

        And even as to mootness, Plaintiffs ignored that courts may treat voluntary governmental

cessation of possibly wrongful conduct with solicitude, mooting cases that might have been allowed

to proceed had the defendant not been a public entity. 57 Indeed, “[w]ithout evidence to the contrary,”

which Plaintiffs do not provide, “[Courts] assume that formally announced changes to official

governmental policies are not mere litigation posturing.” 58 Thus, even if the Court finds that UTSA




50
   ECF 38, pp. 25–29.
51
   ECF 32, p. 37, n. 246.
52
   Id., p. 37.
53
   ECF 38, pp. 21–23.
54
   Id.
55
   See, e.g., Tex. Democratic Party v. Abbott, 978 F.3d 168, 179 (5th Cir. 2020) (citation omitted)
56
   See Mi Familia Vota v. Ogg, 105 F.4th 313, 330–31 (5th Cir. 2024).
57
   See, e.g., Sossamon v. Lone Star State of Texas, 560 F.3d 316, 325 (5th Cir. 2009) (citations omitted).
58
   Id.


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          Case 1:24-cv-00523-RP Document 51 Filed 09/06/24 Page 11 of 13



adopted a “rule” prohibiting students on campus from using their favored slogan, Dean Robinson’s

declaration that UTSA has no such rule and will not enforce one going forward 59 moots this claim. 60

        Fifth , Plaintiffs make a new overbreadth argument on page 16 of their reply. 61 An overbreadth

claim arises when a plaintiff alleges that a statute did not violate their First Amendment rights, but

would violate the rights of others if applied to them. 62 Plaintiffs did not bring an overbreadth claim 63

and so they cannot pursue this argument. Plaintiffs also suggest that the Court can ignore the canon

of constitutional avoidance in the overbreadth context, 64 but the Supreme Court’s “cases offer no

support for that proposition. In this context, as in others, ordinary principles of interpretation apply.” 65

        Sixth , Plaintiffs bring in new facts in arguing that Governor Abbott is a proper defendant. 66

As ostensible support, Plaintiffs point to news media, a reported political rebuke by Travis County

Attorney Garza, and a reported statement by DPS that it had deployed officers at the direction of

Governor Abbott. 67 But Plaintiffs offer no factual support of any kind showing that Governor Abbott

was enforcing GA-44, and do not create any factual dispute with the University Defendants’

declarations showing that they had requested mutual aid to respond to materially disruptive protests

that flouted content-neutral time, place, and manner regulations. 68 Plaintiffs also ignore the more basic

point that Ex parte Young only applies if an official has the “particular duty”—beyond mere




59
   ECF 31-5, ¶¶ 8–16.
60
   See, e.g., Rocky v. King, 900 F.2d 864, 866 (5th Cir. 1990) (“The mootness doctrine requires that the
controversy posed by the plaintiff’s complaint be ‘live’ not only at the time the plaintiff files the
complaint but also throughout the litigation process.”).
61
   ECF 38, p. 16.
62
   See United States v. Hansen, 599 U.S. 762, 769 (2023); Vill. of Schaumburg v. Citizens for a Better Env't, 444
U.S. 620, 633–34 (1980); Keepers, Inc. v. City of Milford, 807 F.3d 24, 41–42 (2d Cir. 2015).
63
   See generally ECF 20.
64
   ECF 38, p. 12.
65
   United States v. Hansen, 599 U.S. 762, 781 n.3 (2023).
66
   ECF 38, pp. 4–6.
67
   Id.
68
   See, e.g., ECF 32, p. 14.


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          Case 1:24-cv-00523-RP Document 51 Filed 09/06/24 Page 12 of 13



discretionary authority—“to enforce the statute in question.” 69 GA-44 does not create any identifiable

duty in Governor Abbott to enforce its provisions, and Plaintiffs’ argument is meritless.

        Seventh , Plaintiffs claim that the Board of Regents Defendants are proper parties. 70 The

Board of Regents Defendants had no directive to adopt the definition that Plaintiffs challenge, and

Plaintiffs cannot point to any specific enforcement connection—only general duties unrelated to GA-

44. 71 Plaintiffs’ argument for jurisdiction over the Board of Regents Defendants fails.

Dated: September 4, 2024                               Respectfully submitted,
       Austin, Texas
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69
   Tex. All. for Retired Americans v. Scott, 28 F.4th 669, 672 (5th Cir. 2022); Ogg, 105 F.4th at 327.
70
   ECF 38, pp. 6–8.
71
   See City of Austin v. Paxton, 943 F.3d 993, 999–1000 (5th Cir. 2019) (citation omitted).


                                                     12
         Case 1:24-cv-00523-RP Document 51 Filed 09/06/24 Page 13 of 13



                                CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was served on all counsel of record on September 4,
2024, using the Federal Court CM/ECF system.


                                            /s/ Cole P. Wilson




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